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             EXHIBIT B-8
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            IN THE DISTRICT OF COLUMBIA COURT OF APPEALS



In the Matter of                    )                                                     Clerk of the Court
                                                                                 Received 02/14/2022 11:45 PM
                                    )                                            Filed 02/14/2022 11:45 PM
CONFIDENTIAL (J.B.C.), ESQ.         )
                                    )                 NO. 22-BS-0059
      Respondent.                   )
                                    )                 UNDER SEAL
A Member of the Bar of the District )
 Of Columbia Court of Appeals       )
                                    )
      Defendant.                    )

            CONSENT MOTION FOR EXTENSION OF TIME TO FILE

     Comes now the Respondent, pursuant to Rule 27, and moves for a brief extension

of time to file his response to disciplinary counsel’s Motion to Enforce Subpoena Duces

Tecum. Respondent asserts as follows:

     1.     Respondent received Disciplinary Counsel’s motion via email on February 5.

          The Motion to Enforce addresses substantive issues raised in prior

          correspondence between the parties including Fifth Amendment privilege, Act

          of Production privilege, service of process and Executive privilege.

     2.     Respondent requires a modest extension to prepare a substantive response to

          assist the Court in deciding this motion.

     3.     Undersigned counsel conferred with Disciplinary Counsel who agreed to a

          response date of February 15th..

     For the foregoing reasons, Respondent respectfully requests that this Court extend

the time to file Respondent’s response to the Motion to Enforce until February 15.
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                                              Respectfully Submitted,

                                              By:

                                              /s/ Charles Burnham
                                              Charles Burnham DC Bar # 1003464
                                              Attorney for the Respondent
                                              Burnham & Gorokhov, PLLC
                                              1424 K St. NW, Suite 500
                                              Washington, DC 20005
                                              (202) 386-6920 (phone)
                                              (202) 765-2173
                                              charles@burnhamgorokhov.com




                      CERTIFICATE OF SERVICE

 I have served this filing on opposing counsel via email.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham
                                              DC Bar # 1003464.
                                              Attorney for the Respondent
                                              Burnham & Gorokhov, PLLC
                                              1424 K St. NW, Suite 500
                                              Washington, DC 20005
                                              (202) 386-6920 (phone)
                                              (202) 765-2173 (fax)
                                              charles@burnhamgorokhov.com
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